Case: 3:21-cv-00081-MJN-SLO Doc #: 13 Filed: 11/03/21 Page: 1 of 2 PAGEID #: 178




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION AT DAYTON

 IRON WORKERS DISTRICT                      :   Case No. 3:21-cv-81
 COUNCIL OF SOUTHERN OHIO &                 :
 VICINITY BENEFIT TRUST, et al.,            :   District Judge Michael J. Newman
                                            :   Magistrate Judge Sharon L. Ovington
        Plaintiffs/Judgment Creditors,      :
                                            :
 vs.                                        :
 MATHENY AND SONS GENERAL                   :
 CONTRACTING LLC, et al.,                   :

        Defendants/Judgment Debtors.


                                         ORDER


       This matter is before the Court on Plaintiffs/Judgment Creditors Iron Workers

District Council of Southern Ohio & Vicinity Benefit Trust, the Iron Workers District

Council of Southern Ohio & Vicinity Pension Trust, and the Iron Workers Council of

Southern Ohio & Vicinity Annuity Trust’s Motion for Writ of Continuing Garnishment

(Doc. No. 11) and related attachments (Doc. No. 12). The attachments, together with other

documents in the record, establish good cause for the relief requested.

                       IT THEREFORE IS ORDERED THAT:

       1.     Plaintiffs/Judgment Creditors’ Motion for Writ of Continuing Garnishment

              (Doc. No. 11) is GRANTED; and
Case: 3:21-cv-00081-MJN-SLO Doc #: 13 Filed: 11/03/21 Page: 2 of 2 PAGEID #: 179




     2.    The Clerk of Court is DIRECTED to issue and serve an Order of

           Garnishment and Notice of Garnishment in the form to be submitted by

           Judgment Debtor.

November 1, 2021                         s/Sharon L. Ovington
                                         Sharon L. Ovington
                                         United States Magistrate Judge
